                         Case 1:21-cr-00117-TFH Document 8 Filed 01/27/21 Page 1 of 16
          Case 6:21-mj-00029-KNM Document 13 SEALED Filed 01/27/21 Page 1 of 1 PagelD #:
                                                                 24
AO 442 (Rev. 11/11) Arrest Warrant



                                        United States District Court
                                                               for the

                                                        District of Columbia


                  United States of America
                                v.                               )
                                                                 ) Case No.
                  RYAN TAYLOR ICHOLS                             )
                                                                 )
                                                                 )
                                                                 )
                            Defendant


                                                 ARREST WARRANT
To: Any authorized law enforcement officer


          YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(    me of person to be arrested)                            YAN TAYLO                NICHOLS
who is accused of an offense or violation based on the following document filed with the court:

     Indictment               Superseding Indictment         Information   Supersedin Information Complaint
     Probation Violation Petition Supervised Release Violation Petition Violation Notice Order of the Court

This offense is briefly described as follows:
    18 U.S.C. §§ 1752 (a), 1752(b(1)(A) - Conspiracy and Unlawful Entry with Dangerous Weapon
    40 U.S.C. §§ 5104(e)(2), 5104(e)(2)(D) and (G) - Violent Entry and Disorderly Conduct on Capitol Grounds
    18 U.S.C. § 231(a)(3) - Civil Disorder
    18 U.S.C. §§111 (a), 111(b) - Assault on a Fe eral Officer Using a Deadly or Dangerous Weapon
    18 U.S.C. 2(a) - Aiding and Abetting
                                                                                                   2021.01.17
Date:         01/17/2021
                                                                                                   22:32:41 -05'00
                                                                                      Ds ing officer's signat e

City and state: WASHINGTON, D.C,                                               ZiaM. Faruqui, U.S. Magistrate Judge
                                                                                       Printed name and title


                                                              Return

         This warrant was received on (date) 7/ /7/2                  and the person was arrested on
at (city a d               tate) "if      / ,   f ffi    •


Date:
                                                                                    ~Arr ting)>fflcer's ig ature



                                                                                         inted na e and title
                    Case 1:21-cr-00117-TFH Document 8 Filed 01/27/21 Page 2 of 16
           Case 6:21-mj-0002.9-KNM Document 1 Filed 01/19/21 Page 1 of 1 PagelD #: 1
                                )

 AO 91 (Rev. 11/11) Criminal Co plaint


                                     United States District Court
                                                                for the
                                                      District of Columbia

                   United States of America                         ) 6121-MJ-00029-KNM
                                v.                                )
                                                                  ) Case No.
                  RYAN TAYLO NICHOLS
                                                                  )
                                                                  )
                                                                  )
                                                                  )
                           Defendai (s)

                                               CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of y knowledge and belief.
 On or about the date(s) of January 6, 2021 in the county of in the
                       District of Columbia , the defendant(s) violated:

             Code Section                                                 Offe se De criptio
 18 U.S.C. §§ 1752(a),1752(b)(1)(A)           Conspiracy and Unlawful Entry with Dangerous Weapon;
 40 U.S.C. §§ 5104(e)(2), 5104(e)(2)          Violent Entry and Disorderly Conduct on Capitol Grounds;
 (D) and (G)
 18 U.S.C. § 231(a)(3)                        Civil Disorder;
 18 U.S.C. §§ 111(a), 111(b)                  Assault on a Federal Officer Using a Deadly or Dangerous Weapon;
 18 U.S.C. § 2(a)                             Aiding and Abetting



          This criminal complaint is based on these facts:

See attached statement of facts,




             Continued on the attached sheet.



                                                                                       Complainant i signature

                                                                             MICHAEL D. B OWN, Special Agent, FBI
                                                                                        Pri ted name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Cri . P. 4.1 by
Telephone (specify reliable electronic eans).                                                         2021.01.17 22:33:14
                                                                                                      -05'00
Date:             01/17/2021
                                                                                               J dge's sig ature


City and state:                      WASHINGTON, D.C.                            Zia M. Faruqui, U.S. Magistrate Judge
                                                                                        Printed name and title
           Case 1:21-cr-00117-TFH Document 8 Filed 01/27/21 Page 3 of 16
    Case 6:21-mj-00029-KNM Document 2 Filed 01/19/21 Page 1 of 1 PagelD #: 2

         DATE:      1/19/2021                              CASE NUMBER 6;21-MJ-00029-KNM
  LOCATION:         Tyler                                  UNITED STATES OF AMERICA
     JUDGE:         K. Nicole Mitchell                     V.
  DEP.CLERK:        Lisa Hardwick                          RYAN TAYLOR NICHOLS
   RPTR/ECRO:       Lisa Hardwick
        USPO:       Nathan Manley                          AUSA DEFENSE COUNSEL
INTERPRETER:                                               RYAN LOCKER BUCK FILES
  START TIME:       11:11 a.m.
    END TIME:       11:21 a.m.

                                 INITIAL APPEARANCE RULE 5c
                                         (via video conference)


  Initial Appearance called                                Initial appearance held

  Dft appears with counsel                                 Dft appears without counsel

  Date of Arrest: 1/18/21                                  Dft s first appearance with counsel

  Dft advised of charges                                   Dft advised of right to counsel

  Dft advised of maximum penalties                    X    Dft advised of right to remain silent

                                                           Court finds Dft eligible and appoints:
  Dft retained counsel

                                                           Gvt Oral Motion for Continuance of
  Govt moved for Detention
                                                           Detention Hearing
  Waiver of Detention and Preliminary Hearing
                                                           Waiver of Rights and Consent to Proceed by
  in this district but reserves the right to reopen   X    Video Conference
  in the prosecutin district.
  Order of Temporary Detention: Detention
  Hearing and Preliminary Hearin set for                   Dft advised of Rule 20 Transfer
  1/22/21 at 1:30 p.m.

  Order of Detention                                       Dft waived Hearing on Identity

  Dft remanded to the custody of the U.S.
                                                           Order of Commitment signed
  Marshals
        Case 1:21-cr-00117-TFH Document 8 Filed 01/27/21 Page 4 of 16
  Case 6:21-mj-00029-KNM Documents Filed 01/19/21 Page 1 of 1 PagelD #: 3




                        IN THE UNI ED STAT S DISTRIC COURT
                             E S N DIS ICT OF TEXAS
                                   TYLER DIVISION
  UNITED STATES OF AMERICA

                                                    § CASE NUMBER 6-.21-MJ-00029-KNM
  V.


 RYAN AYLOR NICHOLS




                   WAIV R OF IGHTS AND CONSENT TO PROCEED ,
                            BY VIDEO CONFERENCE
          I, Ryan Taylor Nichols, the above-named efendant, along with his her un ersignecf
attorney, hereby ackno ledge the following and expressly consent to proceed by video conference,
(1) Defendant has eceived a co y of the ch rgin instru en i this case,

(2) Defendant understands he/she has the ri ht to appear personally with his/her atto ey
       befo e a fe er l jud e in o en court; and, that hile he/she has the ri ht to appear in person,
        he/she can w ive th t right and consent to a hearing by video conference.

(3) Defend nt affir atively states he/she h s no objection to proceeding by video conference,

(4) Defendant, h ving confer ed with his/her attorney, understands that by si nin this fo ,
       he/she is knowin ly and volunta ily waivin (givin up) any ight to pe sonal a pearance
       and providing consent ( greein ) for this court proceedin to be conducted by video
       confe ence s provi ed for in Rules 5 nd 10 of the Federal Rules of C iminal P ocedure,


Date:                                               /"                j
                                                Defen an/


  , / , a Defend nt s                              ttGrney

       j.V;J
Unit d States a ist ate Judge
         Case 1:21-cr-00117-TFH Document 8 Filed 01/27/21 Page 5 of 16
  Case 6:21-mj-00029-KNM Document 6 Filed 01/22/21 Page 1 of 2 Page ID #: 13

                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                            TYLER DIVISION

                                        DATE: January 22, 2021

JUDGE                                                              Courtroom Deputy: Lisa Hardwick
K. Nicole Mitchell

Law Clerk: Terri Good                                              Court Reporter: Shea Sloan
 UNITED STATES OF AMERICA                                     CRIMINAL ACTION: 6:21-MJ-29-KNM

 V.
                                                                   DETENTION HEARING
 RYAN TAYLOR NICHOLS                                            PRELIMINARY EXAMINATION
                                                                    IDENTITY HEARING




       On this day, came the parties by their attorneys and the following proceedings were had:


 OPEN: 1:35 p.m. ADJOURN: 4:47 p.m.


 TIME:        MINUTES:


  1:35 p.m.   Case Called. Appearances made. Ryan Locker f/Government and F.R. Buck Files f/Defendant.

              Mr. Files stated his client will waive Identity Hearing.

 1:36 p.m.    Detention/Preliminary Hearing Held

              TFO Gregory Harry was called as a witness by the government, was sworn, and testified on
              Direct Examination. GE-1 (video file) offered and ad itted without objection. GE-2 (video file)
              was offered and admitted without objection. GE-3 (picture) offered and admitted without
              objection. GE-4 (video file) offered and admitted without objection. GE-5 (video file) offered
              and admitted without objection. The Court took judicial notice of the complaint/affidavit. GE-6
              (photo) offered and admitted without objection. GE-7 (photo) offered and admitted without
              objection. GE-8 (photo) offered and admitted without objection.


 3:08 p.m.    Court Recessed

 3:26 p.m.    Court Resumed

 3:27 p.m.    Cross-Examination of TFO Harry by Mr. Files.

 4:01 p.m.    Re-Direct Exa ination of TFO Harry by Mr. Locker.



                                                        DAVID A. O TOOLE, CLERK
FILED: 1/22/2021
                                                        BY: Lisa Hardwick, Courtroom Deputy
        Case 1:21-cr-00117-TFH Document 8 Filed 01/27/21 Page 6 of 16
 Case 6:21-mj-00029-KNM Document 6 Filed 01/22/21 Page 2 of 2 PagelD # 14

PAGE 2 - Proceedings Continued




 4:03 p.m.   Re-Cross Exa ination of TFO Harry by Mr. Files.

 4:05 p.m.   The witness was excused.

 4:05 p. .   The government rested.

 4:05 p.m.   Bonnie Nichols was called as a witness by the defense, was sworn, and testified on Direct
             Examination. DE 1-4 were offered and admitted without objection. DE-5 was offered and
             admitted without objection.

 4:25 p.m.   Cross-Examination of Mrs. Nichols by Mr. Locker.

 4:28 p.m.   Re-Direct Examination of Mrs. Nichols by Mr. Files.

 4:29 p.m.   The witness was excused.

 4:30 p.m.   Mr. Files proffered the testimony of the defendant.

 4:32 p.m.   The defense rests.

 4:32 p.m.   Mr. Locker presented argument.

 4:37 p.m.   Mr. Files presented argument.

 4:44 p.m.   Mr. Locker presented final argument.

 4:45 p.m.   The Court found probable cause. The Court granted the government s motion for detention.

 4:47 p.m.   There being nothing further, court was adjourned. The defendant was remanded to the custody
             of the U.S. M rshals.
              Case 1:21-cr-00117-TFH Document 8 Filed 01/27/21 Page 7 of 16
       Case 6:21-mj-00029-KNM Document 7 Filed 01/22/21 Page 1 of 1 PagelD #: 15


                                  UNITED STATES DISTRICT COURT
                                    EASTERN DISTRICT OF TEXAS
                                          TYLER DIVISION


 UNITED STATES OF AMERICA §

 V § CASE NO. 6:21-MJ-00028
                                                                       6:21-MJ-00029
 RYAN TAYLOR NICHOLS §
 ALEX KIRK HARKRIDER

                                                WITNESS LIST

DATE             HEARING:                 Lisa Hardwick          JUDGE                   PAGE 1
1/22/2021        Detention Hearing        Courtroom Deputy       K. Nicole Mitchell


Govt      Deft   Name of Witness                             DIRECT   CROSS       REDIRECT   RECROSS

                 Ryan Taylor Nichols Hearing

X                TFO Gregory Harry                           X        X           X          X
          X      Bonnie Nichols                              X        X           X
....      ....                                                        ....


                 Alex Kirk Harkrider Hearin

X                TFO Gregory Harry                           X        X           X          X
                  Case 1:21-cr-00117-TFH Document 8 Filed 01/27/21 Page 8 of 16
             Case 6:21-mj-00029-KNM Documents Filed 01/22/21 Page 1 of 2 PagelD#: 16

                                     UNITED STATES DISTRICT COURT
                                      EASTERN DISTRICT OF TEXAS
                                               TYLER DIVISION


UNITED STATES OF AMERICA §

V § CASE NO. 6:21-MJ-00028
                                                                             6:21-MJ-00029
RYAN TAYLOR NICHOLS (1)
ALEX KIRK HARKRIDER (2) §

                                               EXHIBIT LIST

K. NICOLE MITCHELL                            Ryan Locker                  FR Buck Files f/Nichols
Presiding Judge                               Government s Attorney        Gre Waldron f/Harkrider


Hearing Date: 1/22/2021                       Court Reporter: Shea Sloan   Courtroom Deputy: L. Hardwick
Gvt    Dft     Date       Marked   Admitted     NICHOLS
No.    No.     Offered

1                                  1-22-21      Video Clip
2                                  1-22-21      Video Clip
3                                  1-22-21      Photo i age
4                                  1-22-21      Video File
5                                  1-22-21      Video File
6                                  1-22-21      Photo image

7                                  1-22-21      Photo image

8                                  1-22-21      Photo image

       1                           1-22-21      Photo image

       2                           1-22-21      Photo image

       3                           1-22-21      Photo image

       4                           1-22-21      Photo image

       5                           1-22-21      Copy ofDD-214
                                   1-22-21      HARKRIDER
9                                  1-22-21      Snap Chat post
10                                 1-22-21      Video clip
         Case 1:21-cr-00117-TFH Document 8 Filed 01/27/21 Page 9 of 16
     Case 6:21-mj-00029-KNM Documents Filed 01/22/21 Page 2 of 2 PagelD #: 17


11                     1-22-21   Tomahawk hatchet (photo copy)
12                     1-22-21   Photo image

13                     1-22-21   Photo ima e
                      Case 1:21-cr-00117-TFH Document 8 Filed 01/27/21 Page 10 of 16
             Case 6:21-mj-00029-KNM Document 9 Filed 01/25/21 Page 1 of 3 PagelD #: 18
AO 472 (Rev. 11/16) Order of Detention Pending Trial

                                          IN THE UNITED STATES DISTRICT COURT
                                               EASTERN DISTRICT OF TEXAS
                                                     TYLER DIVISION

UNITED STATES OF AMERICA, §
                                                                       §
                                                                       § CASE NUMBER 6:21-MJ-00029-KNM
v.                                                 §
                                                                       §
                                                                       §
RYAN TAYLOR NICHOLS, §
                                                                       §
                                                 DETENTION ORDER PENDING TRIAL

                                                       Part I - Eligibility for Detention

      Upon the
                 ® Motion of the Government attorney pursuant to 18 U.S.C. § 3142(f)(1), or
                 I I Motion of the Government or Court's own motion pursuant to 18 U.S.C. § 3142(f)(2),

the court held a detention hearing and found that detention is warranted. This order sets forth the court s findings of fact and
conclusions of law, as required by 18 U.S.C. § 3142(i), in addition to any other findings made at the hearing.


                             Part II - Findings of Fact and Law as to Presumptions under § 3142(e)

      A. Rebuttable Presumption Arises Under 18 U.S.C. § 3142(e)(2) (previous violator)'. There is a rebuttable
      presumption that no condition or combination of conditions will reasonably assure the safety of any other person
      and the community because the following conditions have been met:
               (1) the defendant is charged with one of the following crimes described in 18 U.S.C. § 3142(f)(1):
                      (a) a crime of violence, a violation of 18 U.S.C. § 1591, or an offense listed in 18 U.S.C.
                      § 2332b(g)(5)(B) for which a maximum term of imprisonment of 10 years or more is prescribed; or
                      (b) an offense for which the maximum sentence is life imprisonment or death; or
                      (c) an offense for which a maximum term of imprisonment of 10 years or more is prescribed in the
                      Controlled Substances Act (21 U.S.C. §§ 801-904), the Controlled Substances Import and Export Act
                      (21 U.S.C. §§ 951-971), or Chapter 705 of Title 46, U.S.C. (46 U.S.C. §§ 70501-70508); or
                      (d) any felony if such person has been convicted of two or more offenses described in subparagraphs
                      (a) through (c) of this paragraph, or two or more State or local offenses that would have been offenses
                      described in subparagraphs (a) through (c) of this paragraph if a circumstance giving rise to Federal
                      jurisdiction had existed, or a combination of such offenses; or
                      (e) any felony that is not otherwise a crime of violence but involves:
                      (i) a minor victim; (ii) the possession of a firearm or destructive device (as defined in 18 U.S.C. § 921);
                      (iii) any other dangerous weapon; or (iv) a failure to register under 18 U.S.C. § 2250; and
                (2) the defendant has previously been convicted of a Federal offense that is described in 18 U.S.C.
                § 3142(f)(1), or of a State or local offense that would have been such an offense if a circumstance giving rise
                to Federal jurisdiction had existed; and
                (3) the offense described in paragraph (2) above for which the defendant has been convicted was
                committed while the defendant was on release pending trial for a Federal, State, or local offense; and
            CJ (4) a period of not more than five years has elapsed since the date of conviction, or the release of the
                defendant from imprisonment, for the offense described in paragraph (2) above, whichever is later.
                                                                                                                          Page I of 3
                      Case 1:21-cr-00117-TFH Document 8 Filed 01/27/21 Page 11 of 16
              Case 6:21-mj-00029-KNM Document 9 Filed 01/25/21 Page 2 of 3 PagelD #: 19
AO 472 (Rev. 11/16) Detention Order Pending Trial


       B. Rebuttable Presumption Arises Under 18 U.S.C. § 3142(e)(3) (narcotics, firearm, other offenses) . There is a
       rebuttable presumption that no condition or combination of conditions will reasonably assure the appearance of the
       defendant as required and the safety of the community because there is probable cause to believe that the defendant
       committed one or more of the following offenses:
                (1) an offense for which a maximum term of imprisonment of 10 years or more is prescribed in the
                Controlled Substances Act (21 U.S.C. §§ 801-904), the Controlled Substances Import and Export Act (21
                U.S.C. §§ 951-971), or Chapter 705 of Title 46, U.S.C. (46 U.S.C. §§ 70501-70508);
                (2) an offense under 18 U.S.C. §§ 924(c), 956(a), or 2332b;
                (3) an offense listed in 18 U.S.C. § 2332b(g)(5)(B) for which a maximum term of imprisonment of 10 years
                or more is prescribed;
                (4) an offense under Chapter 77 of Title 18, U.S.C. (18 U.S.C. §§ 1581-1597) for which a maximum term of
                imprisonment of 20 years or more is prescribed; or
                (5) an offense involving a minor victim under 18 U.S.C. §§ 1201, 1591,2241,2242, 2244(a)(1), 2245,
                2251, 2251 A, 2252(a)(1), 2252(a)(2), 2252(a)(3), 2252A(a)(l), 2252A(a)(2), 2252A(a)(3), 2252A(a)(4),
                2260, 2421, 2422, 2423, or 2425.

       C. Conclusions Regarding Applicability of Any Presumption Established Above

                The defendant has not introduced sufficient evidence to rebut the presumption above, and detention is
                ordered on that basis. (Part III need ot be completed.)

                OR
                The defendant has presented evidence sufficient to rebut the presumption, but after considering the
                presumption and the other factors discussed below, detention is warranted.

                                   Part III - Analysis and Statement of the Reasons for Detention

     After considering the factors set forth in 18 U.S.C. § 3142(g) and the information presented at the detention hearing,
the Court concludes that the defendant must be detained pending trial because the Government has proven:

   13 By clear and convincing evidence that no condition or combination of conditions of release will reasonably assure
       the safety of any other person and the community.

   13 By a preponder nce of evidence that no condition or co bination of conditions of release will reasonably assure
      the defendant s appearance as required.

In addition to any findings made on the record at the hearing, the reasons for detention include the following:

       13 Weight of evidence against the defendant is strong
            Subject to lengthy period of incarceration if convicted
            Prior criminal history
            Participation in criminal activity while on probation, parole, or supervision
       3 History of violence or use of weapons
       3 History of alcohol or substance abuse
           Lack of stable employment
           Lack of stable residence
           Lack of financially responsible sureties
           Lack of significant community or family ties to this district
           Significant family or other ties outside the United States


                                                                                                                      Pa e 2 of 3
                      Case 1:21-cr-00117-TFH Document 8 Filed 01/27/21 Page 12 of 16
              Case 6:21-mj-00029-KNM Document 9 Filed 01/25/21 Page 3 of 3 PagelD #: 20
 AO 472 (Rev. 11/16) Order of Detention Pending Trial

            Lack of legal status in the United States
            Subject to removal or deportation after serving any period of incarceration
            Prior failure to appear in court as ordered
            Prior attempt(s) to evade law enforcement
           Use of alias(es) or false documents
           Background information unknown or unverified
           Prior violations of probation, parole, or supervised release

OTHER REASONS OR FURTHER EXPLANATION:

The government has shown by clear and convincing evidence that there are no conditions that would reasonably
assure the safety of the com unity and has shown by a preponderance of the evidence that there is a serious
risk that the defendant will flee or not appear in court when required. The nature of the alleged offense and the
weight of the evidence presented at the hearing favor detention. I am particularly concerned about the evidence
and testimony presented painting a picture not of a peaceful protest that got out of hand, but of a planned,
predetermined attempt to attack the Capitol building. The text messages lay out a plan to take weapons and to
acquire body armor along the way. The govern ent presented evidence showing threats and antagonizing
language towards the crowd. The evidence shows that the defendant s intent was not to participate in a
peaceful act. I am also concerned about evidence presented concernin other hostile acts by the defendant in
the past, as well as substance abuse.




                                                 Part IV - Directions Regarding Detention

The defendant is remanded to the custody of the Attorney General or to the Attorney General s designated representative
for confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences or
being held in custody pending appeal. The defendant must be afforded a reasonable opportunity for private consultation
with defense counsel. On order of a court of the United States or on request of an attorney for the Government, the
person in charge of the corrections facility must deliver the defendant to a United States Marshal for the purpose of an
appearance in connection with a court proceeding.


Date: January 22, 2021
                                                                          Honorable K. Nicole Mitchell
                                                                             United States Magistrate Judge




                                                                                                                  Page 3 of 3
                   Case 1:21-cr-00117-TFH Document 8 Filed 01/27/21 Page 13 of 16
           Case 6:21-mj-00029-KNM Document 10 Filed 01/25/21 Page 1 of 1 PagelD #: 21
AO 94 (Rev. 06/09) Commitment to Another District



                                     United States District Court
                                                               for the
                                                     Eastern District of Texas

                 United States of America
                               v.
                                                                         Case No. 6:21-MJ-00029-KNM

                RYAN TAYLOR NICHOLS                                          Charging District s
                           Defendant                                         Case No. 6:21-MJ-00102

                                            COMMITMENT TO ANOTHER DISTRICT

         The defendant has been ordered to appear in the                                       District of Columbia

(if applicable) division. The defendant may need an interpreter for this language:



         The defendant: will retain an attorney.

                                    is requesting court-appointed counsel.

         The defendant remains in custody after the initial appearance.

         IT IS ORDERED: The United States marshal must transport the defendant, together with a copy of this order,
to the charging district and deliver the defendant to the United States marshal for that district, or to another officer
authorized to receive the defendant. The marshal or officer in the charging district should immediately notify the United
States attorney and the clerk of court for that district of the defendant’s arrival so that further proceedings may be
promptly scheduled. The clerk of this district must promptly transmit the papers and any bail to the charging district.




D te:    22=2Q21
                                                                                         Judge's signature


                                                                             K. Nicole Mitchell, U.S. Magistrate Judge
                                                                                       Printed me and title
 CM/ECF LIVE - U.S.
           Case     District Court:txed Document 8 Filed 01/27/21 Page 14 of 16 Page 1 of 3
                 1:21-cr-00117-TFH


                                         U.S. District Court
                         Eastern District of TEXAS [LIVE] (Tyler)
                  CRIMINAL DOCKET FOR CASE #: 6:21-mj-00029-KNM-l
                                         Internal Use Only


  Case title: USA v. Nichols                                Date Filed: 01/19/2021

  Assigned to: Magistrate Judge K.
  Nicole Mitchell

  Defendant (1)
  Ryan Taylor Nichols                         represented by F R Buck Files , Jr
                                                            Bain Files Jarrett & Bain PC
                                                            109 W Ferguson
                                                            Tyler, TX 75702
                                                            903/595-3573
                                                            Fax: 9035977322
                                                            Email: bfiles@bain-files.com
                                                            LEAD ATTORNEY
                                                            A TTORNEY TO BE NOTICED
                                                            Designation: Retained


 Pending Counts                                             Disposition
 None


 Highest Offense Level (Openin )
 None


 Terminated Counts                                          Disposition
 None


 Hi hest Offense Level (Terminated)
 None


 Complaints                                                 Disposition
 Conspiracy and Unlawful Entry with
 Dangerous Weapon; Violent Entry and
 Disorderly Conduct on Capitol                                 A TRUE COPY I CERTIFY
 Grounds; Civil Disorder; Assault on a                         DAVID A O'TOOLE, CLERK
 Federal Officer Using a Deadly or                             U.S. DISTRICT COURT
 Dangerous Weapon; Aiding and                                  EASTERN DISTRICT OF TEXAS
 Abetting
                                                               By: _________________________
                                                                         Lisa Hardwick



https://txeddb.txed.gtwy.dcn cgi-bin/DktRpt.pl7100135337585739-L_l_0-l                     1/27/2021
 CM/ECF LIVE - U.S.
           Case     District Court:txed Document 8 Filed 01/27/21 Page 15 of 16 Page 2 of 3
                 1:21-cr-00117-TFH



 Plaintiff
 USA represented by Dan Ryan Locker
                           US Attorney's Office - Tyler
                                                             1 ION College, Suite 700
                                                             Tyler, TX 75702
                                                             903-590-1400
                                                             Fax: 903-590-1439
                                                             Email: ryan.locker@usdoj.gov
                                                             LEAD ATTORNEY
                                                             A TTORNEY TO BE NOTICED
                                                             Designation: Assistant US Attorney


  Date Filed          #        Docket Text
  01/18/2021                   Arrest (Rule 5c) of Ryan Taylor Nichols (leh,) (Entered: 01/19/2021)
  01/19/2021               1 Rule 5(c)(3) Documents Received as to Ryan Taylor Nichols received
                               from District of Columbia, (leh,) (Entered: 01/19/2021)
  01/19/2021               2 Minute Entry for proceedings held before Magistrate Judge K. Nicole
                               Mitchell nitial Appearance in Rule 5(c)(3) Proceedings as to Ryan
                               Taylor Nichols held via video conference with Smith County Jail on
                              1/19/2021. Deft advised of rights. Deft retained counsel, appearance
                              entered by F R Buck Files, Jr for on behalf of defendant. Govt moved
                              for detention. Deft requested hearing on identity, detention, and
                              preliminary examination. Hearings set for 1/22/21 at 1:30 p.m. Deft
                              remanded to the custody of the U.S. Marshals. (Court Reporter L
                              Hardwick/ECRO.) (leh,) (Entered: 01/19/2021)
 01/19 2021                3 WAIVER of Rights and Consent to Proceed by video conference by
                              Ryan Taylor Nichols (leh,) (Entered: 01/19/2021)
 01/19/2021                   NOTICE OF HEARING as to Ryan Taylor Nichols. Detention
                              Hearing and Preliminary Examination set for 1/22/2021 at 1:30 PM
                              before Magistrate Judge K. Nicole Mitchell. Identity Hearing set for
                              1/22/2021 at 1:30 PM before Magistrate Judge K. Nicole Mitchell,
                              (leh,) (Entered: 01/19/2021)
 01/20/2021     0Qi           (SEALED) PRETRIAL SERVICES BOND REPORT as to Ryan
                              Taylor Nichols (Isaucedo,) (Entered: 01/20/2021)
 01/21/2021     0 0 -         (SEALED) PRETRIAL SERVICES BOND REPORT ADDENDUM
                              as to Ryan Taylor Nichols (nmanley,) (Entered: 01/21/2021)
 01/22/2021                6 Minute Entry for proceedings held before Magistrate Judge K. Nicole
                              Mitchell dentity, Detention Hearing and Preliminary Hearing as to
                              Ryan Taylor Nichols held on 1/22/2021. Court Reporter Shea Sloan.)
                              (leh,) (Entered: 01/25/2021)
 01/22/2021                7 WITNESS LIST as to Ryan Taylor Nichols (leh,) (Entered:
                             01/25/2021)



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          Case     District Court:txed Document 8 Filed 01/27/21 Page 16 of 16 Page 3 of 3
                1:21-cr-00117-TFH


 01/22/2021                8 EXHIBIT LIST as to Ryan Taylor Nichols (leh,) (Entered:
                             01/25/2021)
 01/25/2021                9 ORDER OF DETENTION PENDING TRIAL as to Ryan Taylor
                               Nichols. Signed by Magistrate Judge K. Nicole Mitchell on 1/22/21.
                               (leh,) (Entered: 01/25/2021)
 01/25/2021               10 COMMITMENT TO ANOTHER DISTRICT as to Ryan Taylor
                               Nichols. Defendant committed to District of Columbia. Signed by
                               Magistrate Judge K. Nicole Mitchell on 1/22/21. (leh,) (Entered:
                               01/25/2021)
 01/26/2021               11 PAPER TRANSCRIPT REQUEST by Longview News-Journal as to
                               Ryan Taylor Nichols for proceedings held on 01/22/2021 Detention
                               Hearing before Judge K Nicole Mitchell, (mil,) (Forwarded to
                               Official Court Reporter Shea Sloan on 1/26/21). (hma) (Entered:
                               01/26/2021)
 01/26/2021               12   Digital Audio Recording Request by Longview News-Journal as to
                               Ryan Taylor Nichols for proceedings held on 01/22/2021 Detention
                               Hearing before Judge K Nicole Mitchell, (mil, ) (No digital audio
                               available as a court reporter was present during the proceedings),
                               (hma) (Entered: 01/26/2021)
 01/27/2021        lf 13
                   I
                               E-GOV SEALED Arrest Warrant Returned Executed on 1/18/21 in
                               case as to Ryan Taylor Nichols, (leh,) (Entered: 01/27/2021)




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